Case 2:20-cv-07036-SVW-AGR Document 1 Filed 08/05/20 Page 1 of 5 Page ID #:1


  1 DAVIS WRIGHT TREMAINE LLP
    ALLISON A. DAVIS (State Bar No. 139203)
  2 MARY HAAS (State Bar No. 149770)
    865 South Figueroa Street, Suite 2400
  3 Los Angeles, California 90017-2566
    Telephone: (213) 633-6800
  4 Facsimile: (213) 633-6899
    Email:      allisondavis@dwt.com
  5 Email:      maryhaas@dwt.com
 6 MILLER STARR REGALIA
   ARTHUR F. COON (State Bar No. 124206)
 7 ANTHONY M. LEONES (State Bar No. 184499)
   1331 N. California Blvd., Fifth Floor
 8 Walnut Creek, California 94596
   Telephone: (925) 935-9400
 9 Facsimile: (925) 933-4126
   Email:      arthur.coon@msrlegal.com
10 Email:      tony.leones@msrlegal.com
11 Attorneys for Defendant
   OUTFRONT MEDIA LLC
12
13                       UNITED STATES DISTRICT COURT
14               FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                              WESTERN DIVISION
16
17 ANTON KARRAA, RABADI SERVICE              Case No.
   STATION, INC. CALPRO, an
18 Unincorporated                            NOTICE OF REMOVAL OF CIVIL
   Association of Residents, Property        ACTION TO FEDERAL COURT
19 Owners and Taxpayers of the City of Los   BY BY DEFENDANT OUTFRONT
   Angeles, J. KEITH STEPHENS, and           MEDIA LLC
20 VIRTUAL MEDIA GROUP,
   INC.,
21              Plaintiffs,
22        v.
23 CITY OF LOS ANGELES, a municipal;
   corporation, OUTFRONT MEDIA, INC.,
24 and DOE 1 through DOE 25,
25              Defendants.
26
27
28


     NOTICE OF REMOVAL
     Case No.
Case 2:20-cv-07036-SVW-AGR Document 1 Filed 08/05/20 Page 2 of 5 Page ID #:2


  1        TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF
  2 RECORD:
  3        Pursuant to 28 U.S.C. Section 1441, Defendant Outfront Media LLC, a
  4 Delaware LLC (“Outfront Media”) removes the above-captioned action from the
  5 Superior Court of California, Los Angeles County, to the United States District
  6 Court for the Central District of California. Removal is warranted under 28 U.S.C.
  7 Section 1441, as explained more fully below, because (a) it is a civil action arising
  8 under the laws of the United States, and (b) it is an action over which this Court has
  9 original jurisdiction under 28 U.S.C. Sections 1331, 1337, and 1441(a). Defendant
10 the City of Los Angeles joins in this request.
11         A.     Defendant Has Met The Procedural Requirements For Removal.
12         1.     On April 27, 2020, Plaintiffs Anton Karraa, Rabadi Service Station,
13 Inc., Calpro, an unincorporated association of Property Owners and Taxpayers of
14 the City of Los Angeles, J. Keith Stephens, and Virtual Media Group, Inc., filed a
15 complaint against City of Los Angeles, a municipal corporation, Outfront Media
16 Inc., and Doe 1 through Doe 25, Case No. 20STCV15924.1
17         2.     Service of the Summons and Complaint was completed on Defendant
18 Outfront Media LLC on July 23, 2020, when Outfront Media executed a Notice and
19 Acknowledgement form. Thirty days since notice has not yet expired, and therefore
20 this Notice is timely under 28 U.S.C. Section 1446(b).
21         3.     This action is a civil action of which this Court has original
22 jurisdiction, and is one which may be removed to this Court by Defendant Outfront
23 Media pursuant to the provisions of 28 U.S.C. Section 1441(a), because it arises
24 under the laws of the United States over which this Court has original jurisdiction
25 under 28 U.S.C. Sections 1331 and 1337.
26
27    1
    Defendant Outfront Media, Inc., a California corporation, is not affiliated with
28 Defendant Outfront Media LLC. Plaintiffs erroneously sued Defendant Outfront
   Media, Inc. and have advised that they will dismiss that defendant from this action.
                                                1
      NOTICE OF REMOVAL
      Case No.
                            Case 2:20-cv-07036-SVW-AGR Document 1 Filed 08/05/20 Page 3 of 5 Page ID #:3


                              1         4.     Copies of the Summons, Complaint, Amendment to Complaint, Civil
                              2   Case Cover Sheet, Addendum and Statement of Location, Notice of Case
                              3   Assignment, Notice and Acknowledgement of Receipt, Answer, and Notice of Case
                              4   Management Conference, are attached hereto as Exhibits 1 through 10, and to the
                              5   best of the Defendant Outfront Media’s knowledge, constitute all process, pleadings,
                              6   and orders served on Defendant Outfront Media in this action up to the present date.
                              7         5.     Los Angeles County is the county of origin for purposes of removal
                              8   under 28 U.S.C. Section 1441(a), as explained more fully below.
                              9         6.     All other defendants who have been served with and/or received notice
                             10   of the Complaint have joined in this Notice of Removal, as evidenced by the Joinder
DAVIS WRIGHT TREMAINE LLP




                             11   of Defendant City of Los Angeles filed concurrently.
                             12         7.     In accordance with 28 U.S.C. Section 1446(d), Defendant Outdoor
                             13   Media is filing a copy of this Notice of Removal with the Superior Court of the
                             14   County of Los Angeles and are serving a copy upon Plaintiffs’ counsel.
                             15         B.     Removal Is Proper Because the Court Has Federal Question
                             16                Jurisdiction Pursuant to 28 U.S.C. Sections 1331, 1337, and 1441.
                             17         8.     This action is a civil action of which this Court has original jurisdiction
                             18   under 28 U.S.C. Sections 1331 and 1337, and is one which may be removed to this
                             19   Court by Defendant Outdoor Media pursuant to the provisions of 28 U.S.C. Section
                             20   1441 in that it arises under the laws of the United States. Specifically, the action
                             21   purports to allege against all Defendants, except the City of Los Angeles, causes of
                             22   action for violations of the Sherman Antitrust Act, 15 U.S.C. Sections 1 and 2.
                             23         9.     Federal courts have “exclusive jurisdiction over federal antitrust
                             24   claims.” Lippincott v. DirecTV, Inc. (In re NFLs Sunday Ticket Antitrust Litig.),
                             25   2016 U.S. Dist. LEXIS 41639, at *13 (C.D. Cal. March 28, 2016) (quoting Turf
                             26   Paradise, Inc. v. Arizona Downs, 670 F. 2nd 813, 821 (9th Cir. 1982)); Strategic
                             27   Pharm. Solutions, Inc. v. Nev. State B. of Pharm., 2016 U.S. Dist LEXIS 68029, at
                             28   *3 (D. Nev. May 24, 2016) (citing Eichman V. Fotomat Corp., 759 F.2d 1434, 1437

                                                                              2
                                  NOTICE OF REMOVAL
                                  Case No.
                            Case 2:20-cv-07036-SVW-AGR Document 1 Filed 08/05/20 Page 4 of 5 Page ID #:4


                              1   (9th Cir. 1985)); see also Marrese v. Am. Acad. of Orthopaedic Surgeons, 470 U.S.
                              2   373, 379-380 (1985) (citing Gen. Inv. Co. v. Lake Shore & Mich. S. Ry. Co., 260
                              3   U.S. 261, 286-88 (1922)).
                              4           WHEREFORE, Defendant Outfront Media respectfully removes this action
                              5   from the Superior Court of the State of California for the County of Los Angeles,
                              6   bearing Case Number 20STCV15924, to this Court pursuant to 28 U.S.C. Section
                              7   1331.
                              8

                              9   Dated: August 5, 2020                        DAVIS WRIGHT TREMAINE LLP
                                                                               ALLISON A. DAVIS
                             10                                                MARY H. HAAS
DAVIS WRIGHT TREMAINE LLP




                             11                                                By:     /s/ Mary H. Haas
                             12                                                      Mary H. Haas
                             13                                                Attorneys for Defendant
                                                                               OUTFRONT MEDIA LLC
                             14

                             15

                             16

                             17

                             18

                             19

                             20

                             21

                             22

                             23

                             24

                             25

                             26

                             27

                             28

                                                                           3
                                  NOTICE OF REMOVAL
                                  Case No.
Case 2:20-cv-07036-SVW-AGR Document 1 Filed 08/05/20 Page 5 of 5 Page ID #:5


                            CERTIFICATE OF SERVICE
  1                Anton Karraa, et al. vs. City of Los Angeles, et al.
               UDSC Central District California – Western Division Case No.
  2
           I am a resident of the State of California, over the age of eighteen years, and
  3 not a party to the within action. My business address is: Davis Wright Tremaine
    LLP, 505 Montgomery Street, Suite 800, San Francisco, CA 94111. On the below-
  4 mentioned date, I served the within documents:
  5    NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT BY
                   DEFENDANT OUTFRONT MEDIA LLC
  6
       MAIL - by placing the document(s) listed above in a sealed envelope with
  7     postage thereon fully prepaid, in the United States mail at San Francisco,
        California addressed as set forth below.
  8
       PERSONAL SERVICE - by causing personal delivery of the document(s)
  9     listed above to the person(s) at the address(es) set forth below.
10
11    Raymond N. Haynes, Jr.                       Michael N. Feuer
12    9060 Grove Street                            Terry P. Kaufmann Macias
      Elk Grove, CA 95624                          Kenneth T. Fong
13    Tel: (916) 709-9781                          200 North Main Street
14    Email: ray-haynes@hotmail.com                City Hall East Room 701
      Attorneys for Plaintiffs                     Los Angeles, California 90012
15    CALPRO,ANTON KARRAA,                         Tel: (213) 978-8202
16    RABADI SERVICE STATION, INC.,                Fax: (213) 978-8214
      J. KEITH STEPHENS, AND                       Email: kenneth.fong@lacity.org
17    VIRTUAL MEDIA GROUP, INC.                    Attorneys for Defendant
18                                                 CITY OF LOS ANGELES
19        I am readily familiar with the firm’s practice of collection and processing
20 correspondence for mailing. Under that practice it would be deposited with the
   U.S. Postal Service on that same day with postage thereon fully prepaid in the
21 ordinary course of business. I am aware that on motion of the party served, service
22 is presumed invalid if postal cancellation date or postage meter date is more than
   one day after date of deposit for mailing in affidavit.
23
24        I declare under penalty of perjury under the laws of the State of California
   that the above is true and correct. Executed on August 5, 2020 at San Francisco,
25 California.
26
27                                          /s/ Kimberly Simmons- Greene
28                                                        Kimberly Greene
                                               1
      PROOF OF SERVICE
      Case No.
